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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


THE TRUSTEES OF
PRINCETON UNIVERSITY,
                Plaintiff,
        v.
TOD WILLIAMS BILLIE TSIEN                         Civil Action No. 3:19-cv-21248-BRM-LHG
 ARCHITECTS, LLP; JACOBS
 ARCHITECTS/ENGINEERS,
 INC.; and JACOBS
 CONSULTANCY INC. et al.,
                Defendants.

                JACOBS ARCHITECTS/ENGINEERS, INC.’S AND
           JACOBS CONSULTANCY, INC.’S MOTION TO SUPPLEMENT
           AND/OR AMEND THEIR ANSWER, AFFIRMATIVE DEFENSES,
                   COUNTERCLAIM, AND CROSS-CLAIMS

       COME NOW Jacobs, Jacobs Architects/Engineers, Inc. (“Jacobs A/E”) and Jacobs

Consultancy, Inc. (“Jacobs Consultancy”) (collectively, the “Jacobs Entities”), by undersigned

counsel and, pursuant to Federal Rule of Civil Procedure 15 submit this Motion to Supplement
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and /or Amend their Answer, Affirmative Defenses, Counterclaim and Cross-Claim. In support

thereof, the Jacobs Entities allege as follows:

I.     INTRODUCTION

       On February 14, 2020, Defendant Tod Williams Billie Tsien Architects, LLP (“TWBTA

A”) filed a Third-Party Complaint, naming as Third-Party Defendants Arup, USA, Inc. (“Arup”),

F.J. Sciame Construction Company, Inc. (“Sciame”), John Does 1–10, and ABC Corporations 1–

10 (collectively “Third Party Defendants”) for the purposes of claiming indemnity and

contribution against the Third-Party Defendants for any liability assigned to TWBTA as a result

of Plaintiff’s, The Trustees of Princeton’s (“Princeton”), Complaint. The Jacobs Entities have an

identical interest in seeking indemnity and contribution against the Third-Party Defendants.

       The Jacobs Entities are permitted under Federal Rule of Civil Procedure 13 (g) to file

Cross-Claims against the Cross-Defendants. Similarly, the Jacobs Entities would be permitted

under Rule 14 of the Federal Rules of Civil Procedure to file a Third-Party Complaint for

indemnity and contribution against the Cross-Defendants. On the same grounds and pursuant to

FRCP 15 and Local Rules of Civil Procedure 7.1(f) and 15.1(a), the Jacobs Entities seek leave to

supplement and/or amend their Answer to include Cross-Claims against the Third-Party

Defendants and to correct scrivener errors. Grant of leave to supplement and/or amend the

Answer, Affirmative Defenses, Counterclaim and Cross-Claim filed by the Jacobs Entities will

promote judicial economy, avoid needlessly multiplying proceedings and allow for a complete

adjudication of the claims and disputes between all parties.

II.    ARGUMENT

       Under Federal Rule of Civil Procedure 15(a) and (d), a party may move to amend or

supplement a pleading by “setting forth transactions or occurrences or events that have occurred




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since the date of the pleading sought to be supplemented.” Fed. R. Civ. P. 15(d). Motions to

supplement pleadings are often granted as “courts in the Third Circuit generally apply the Rule

15(a) standard to Rule 15(d) motions and liberally grant leave to supplement.” Hankin Family

P’ship v. Upper Merion Twp., Civ. A. No. 01-1622, 2012 WL 33020 (E.D. Pa. Jan. 5,

2012) (citing Tormasi v. Hayman, No. 09-2330, 2010 WL 1878961, at *2 (D.N.J. May 7, 2010)).

These standards are so similar, in fact, that a mislabeled motion to supplement may harmlessly be

treated as a motion to amend and vice versa. See, e.g., Ebert v. Twp. of Hamilton, Civ. No. 15-

7331, 2020 WL 948774, at *2 (D.N.J. Feb. 27, 2020).

       This Court has noted that “[t]he purpose of Rule 15(d) is to serve judicial economy, avoid

multiplicity of litigation, and promote as complete an adjudication of the dispute between the

parties as possible by allowing the addition of claims which arise after the initial pleadings are

filed.” Edelson v. Cheung, Civ. A. No. 2:13-cv-5870 (JLL) (JAD), 2017 WL 4220291, at *1

(D.N.J. Sept. 22, 2017) (internal quotations omitted) (citing Hassoun v. Cimmino, 126 F. Supp. 2d

353, 360 (D.N.J. 2000)). A Court has broad discretion to grant a motion to supplement, and

“[l]eave to file a supplemental complaint should be freely permitted in the absence of undue delay,

bad faith, dilatory tactics, undue prejudice to defendants, or futility, and when the supplemental

facts are connected to the original pleading.” Id. at *1–2.

       The requirements for supplementation and/or amendment of the Answer filed by the Jacobs

Entities are satisfied here. In the time since the Jacobs Entities filed their Answer on January 22,

2020, the Third-Party Defendant have been joined and have appeared in this action. In its Third-

Party Complaint, TWBTA seeks indemnification and contribution against Arup, Sciame, John

Does 1–10 and ABC Corporations 1–10. Relief on a claim of indemnification and contribution is

equally available to the Jacobs Entities against the Third-Party Defendants.




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        By moving to supplement or amend their Answer rather than file a separate set of Cross-

Claims in an independent action, the Jacobs Entities seek “to serve judicial economy, avoid

multiplicity of litigation, and promote[] as complete an adjudication of the dispute between the

parties as possible,” the very purposes underlying supplementing pleadings. Edelson, 2017 WL

4220291, at *1. Moreover, the Jacobs Entities’ Motion to Supplement should be “freely permitted”

since it will not unduly delay proceedings or cause undue prejudice to the Third-Party Defendants

(let alone any other parties) since they are the same claims recently asserted by TWBTA, this

action remains in its very early stages and the Motion to Supplement has been filed timely in

accordance with the Pretrial Scheduling Order, dated May 13, 2020. Id. at *1–2. Nor can it be

alleged that the present Motion is made in bad faith or constitutes dilatory tactics as it is being filed

in accordance with the Scheduling Order issued in this matter and, before any discovery has been

conducted or discovery requests have been served.

        Finally, the claims for contribution are properly submitted against the Third-Party

Defendants. The Jacobs Entities’ claims for contribution against the Third-Party Defendants are

not futile. The Jacobs Entities maintain that they are not liable, but their Cross-Claims for

indemnification and contribution against the Third-Party Defendants are appropriate in the

eventuality that the Jacobs Entities are held liable under Plaintiff’s Complaint. Supplementation

will also enable the Jacobs Entities to correct minor scrivener errors and supply the missing

Answer to allegation ¶ 2 of Plaintiff’s Complaint, without causing prejudice to any party.

        This Motion is filed in accordance with the Scheduling Order in this action, dated May 13,

2020 (Dkt. 35), and the clarification of the Order, dated June 4, 2020. The Motion is not opposed

by Princeton and TWBTA, but is opposed by Sciame. Arup did not respond to a request for its

position on the Motion.




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       The Jacobs Entities have attached Exhibit A, a copy of their proposed Amended and

Supplemental Answer, and Exhibit B, a redlined version of the proposed Amended and

Supplemental Answer, which identifies the material to be removed from, and underlines material

to be added to, the final version. Local Civ. R. 15.1(a).

III.   CONCLUSION

       For the foregoing reasons, the Jacobs Entities respectfully request that this Honorable Court

issue an Order granting their Motion to Supplement and/or Amend their Answer, Affirmative

Defenses, Counterclaim, and Cross-Claim, and to permit the Jacobs Entities to file the original

(Exhibit A) forthwith as their Amended and Supplemental Answer.


Dated: June 12, 2020

                              Respectfully Submitted,



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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 12, 2020, I electronically filed the foregoing with the Clerk of

the Court for the United States District Court for the District of New Jersey by using the CM/ECF

system. Service will be accomplished by the CM/ECF system on all counsel of record in this action.



                                              /s/ Stephanie R. Wolfe




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